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                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,           CR. NO. 2:99-00433 WBS
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                  Plaintiff,             MEMORANDUM AND ORDER RE:
14                                       DEFENDANT’S MOTION TO DISMISS
         v.                              COUNTS TWO, THREE, FIVE, SEVEN,
15                                       AND NINE
     JOHN THAT LUONG,
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                  Defendant.
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21             Presently before the court is defendant John That
22   Luong’s motion to dismiss counts two, three, five, seven, and
23   nine of the Indictment pursuant to Federal Rule of Criminal
24   Procedure 12(b)(2) in light of the recent Supreme Court decision,
25   Johnson v. United States, 135 S. Ct. 2551 (2015).         (Docket No.
26   1686.)   Counts two, five, seven, and nine charged Luong with the
27   use of a firearm during a crime of violence, 18 U.S.C. § 924(c),
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1    and identified the crime of violence as conspiracy to commit

2    Hobbs Act robbery, 18 U.S.C. § 1951(a).1       (Indictment (Docket No.

3    1).)       Count three charged Luong with death caused by use of a

4    firearm during a crime of violence, that is, conspiracy to commit

5    Hobbs Act robbery.       (Id.)

6                  To avoid repetition, the court will refrain from

7    reciting the factual and procedural background, the court’s

8    analysis of Johnson, and the court’s application of Johnson to

9    the residual clause of § 924(c), all of which remain the same as

10   in its February 1, 2016 Order granting co-defendants Thongsouk

11   Theng Lattanaphom and Minh Huynh’s motion to dismiss.         (Feb. 1,

12   2016 Order (Docket No. 1659); Am. Feb. 1, 2016 Order (Docket No.

13   1668).)

14                 The court reiterates that it has jurisdiction over

15   Luong’s motion to dismiss under Rule 12, as amended in 2014.

16   Rule 12(b)(2) provides that “[a] motion that the court lacks

17   jurisdiction may be made at any time while the case is pending.”

18   Fed. R. Crim. P. 12(b)(2).       Luong is challenging this court’s

19   jurisdiction by arguing that the statute under which he was

20   convicted, 18 U.S.C. § 924(c)(3)(B), is unconstitutionally void
21   for vagueness.      (Def.’s Mot. at 5-6 (Docket No. 1686).)       Further,

22   Luong’s case is pending before this court because it was remanded

23   by the Ninth Circuit for resentencing.       (Ninth Cir. Mandate

24   (Docket No. 1623); see Feb. 1, 2016 Order at 3-6); see also

25   United States v. Rios-Hernandez, Cr. No. 3:93-00091 HDM, 2013 WL

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               The Ninth Circuit remanded with instructions to vacate
27   the conviction and sentence corresponding to count two and, as a
     result, the court must vacate count two irrespective of
28   defendant’s motion.
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1    4857952, at *1 (D. Nev. Sept. 10, 2013) (holding a “case is no

2    longer ‘pending’ within the meaning of Rule 12(b) after the

3    judgment becomes final.”); Clay v. United States, 537 U.S. 522,

4    525, 527 (2003) (finding a judgment of conviction becomes final

5    in the context of post-conviction relief when the Supreme Court

6    affirms the conviction and sentence on the merits or denies a

7    timely filed petition for certiorari, or when the time for

8    seeking certiorari review expires); United States v. Colvin, 204

9    F.3d 1221, 1222-25 (9th Cir. 2000) (finding that a judgment

10   becomes final in the context of post-conviction relief when the

11   time has passed for appealing the district court’s entry of

12   judgment or entry of amended judgment on remand).

13             The court is unpersuaded by the government’s argument

14   that conspiracy to commit Hobbs Act robbery is a crime of

15   violence under the force clause of § 924(c) and, as a result, the

16   constitutional question of whether the residual clause is void

17   for vagueness can be avoided altogether.       (Gov’t Opp’n at 9, 12

18   (Docket No. 1688).)    Under the force clause, a crime of violence

19   is a felony that “has as an element the use, attempted use, or

20   threatened use of physical force against the person or property
21   of another.”   18 U.S.C. § 924(c)(3)(A).

22             The three elements of conspiracy to commit Hobbs Act

23   robbery are: “(1) two or more people agreed to commit a robbery

24   or extortion of the type discussed in the Hobbs Act; (2) the

25   defendant had knowledge of the conspiratorial goal; and (3) the

26   defendant voluntarily participated in trying to accomplish the
27   conspiratorial goal.”    United States v. Si, 343 F.3d 1116, 1123-

28   24 (9th Cir. 2003).    An overt act in furtherance of the goal of
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1    the conspiracy is not required.      United States v. Dennis, Civ.

2    No. 11-141 BLG RFC, 2013 WL 704482, at *7 (D. Mont. Feb. 27,

3    2013), aff’d, 569 Fed. Appx. 533 (9th Cir. 2014) (“Unlike the

4    crime of attempted robbery to affect commerce, to convict

5    [defendant] of conspiracy to commit robbery affecting commerce

6    under 18 U.S.C. § 1951(a), the United States need not prove

7    [defendant] took a ‘substantial step’ towards the commission of

8    the crime.”).

9              The jury instructions in this case defined conspiracy

10   to commit Hobbs Act robbery as:

11        [A] kind of criminal partnership - an agreement of two
          or more persons to commit one or more crimes.       The
12        crime of conspiracy is the agreement to do something
          unlawful; it does not matter whether the crime agreed
13        upon was committed. . . . You must find that there was
          a plan to commit robbery which if successful would have
14        affected interstate or foreign commerce as an object of
          the conspiracy, with all of you agreeing on the
15        particular crime which the conspirators agreed to
          commit.
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17   (Jury Instruction No. 27 (Docket No. 1071).)        The jury was

18   therefore not required to find that Luong used, attempted to use,

19   or threatened to use physical force in order to find him guilty

20   of conspiracy.   (Id.)
21             The Ninth Circuit has never held that conspiracy to

22   commit Hobbs Act robbery is a crime of violence under the force

23   clause.   In United States v. Mendez, 992 F.2d 1488 (9th Cir.

24   1993), the Ninth Circuit held that conspiracy to commit Hobbs Act

25   robbery qualifies as a crime of violence under the residual

26   clause.   Id. at 1491.   The defendants in Mendez were indicted for
27   conspiring to commit Hobbs Act robbery and carrying or using a

28   firearm in the commission of a crime of violence under § 924(c).
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1    Id. at 1489.     The Ninth Circuit analyzed whether conspiracy to

2    commit Hobbs Act robbery is a crime of violence using a modified

3    categorical approach.      It found that a modified categorical

4    approach was necessary because a “person may be convicted for

5    violating § 1951 if he interferes with interstate commerce by [1]

6    robbery, [2] extortion, [3] attempting or [4] conspiring to rob

7    or extort, or [5] committing or threatening violence in

8    furtherance of a plan or purpose to violate the statute.”         Id. at

9    1490.    The Ninth Circuit found that the Hobbs Act is therefore a

10   divisible statute that describes “crimes of both violence and

11   non-violence.”       Id.

12              The Ninth Circuit explained that Hobbs Act robbery

13   “indisputably qualifies as a crime of violence” because it

14   contains an element of “actual or threatened force, or

15   violence.”2    Id.    It further reasoned that “where conspirators

16   agree to use ‘actual or threatened force, or violence’ to obtain

17   personal property from another, § 1951(b)(1), the risk that

18   physical force may be used in the course of the conspiracy is

19   substantial within the meaning of § 924(c)(3)(B).”         Id. at 1492.

20   The Ninth Circuit therefore concluded that, because of this
21   substantial risk, a conspiracy to commit Hobbs Act robbery is a

22   crime of violence under the residual clause, or subsection (B).3

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               The Hobbs Act defines robbery as “the unlawful taking
24   or obtaining of personal property from the person or in the
     presence of another, against his will, by means of actual or
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     threatened force, or violence, or fear of injury, immediate or
26   future, to his person or property, or property in his custody or
     possession, or the person or property of a relative or member of
27   his family or of anyone in his company at the time of the taking
     or obtaining.” 18 U.S.C. § 1951(b)(1) (emphasis added).
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            Several other circuits have also found that conspiracy to
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1    It made clear, however, that it was “not address[ing] whether

2    conspiracy to rob in violation of § 1951 is a ‘crime of violence’

3    under subsection (A),” or the force clause.        Id. at 1491.

4              The court therefore finds that conspiracy to commit

5    Hobbs Act robbery does not have as an element the use or

6    attempted use of physical force and is not a crime of violence

7    under the force clause.     If it were not for Johnson, this court

8    would be compelled to conclude, as the Ninth Circuit did in

9    Mendez, that conspiracy to commit Hobbs Act robbery is a crime of

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     commit Hobbs Act robbery is a crime of violence under the
11   residual clause. See United States v. Elder, 88 F.3d 127, 129
     (2d Cir. 1996) (finding conspiracy to commit Hobbs Act robbery to
12   be a crime of violence under the residual clause because “such a
     meeting of the minds enhances the likelihood that the planned
13   crime will be carried out” and “when a conspiracy exists to
     commit a crime of violence . . . the conspiracy itself poses a
14   ‘substantial risk’ of violence”); United State v. Turner, 501
     F.3d 59, 67-68 (1st Cir. 2007) (reasoning that “the object of the
15   conspiracy is the critical determinant of its nature” and
     concluding that conspiracy to commit Hobbs Act robbery is a crime
16   of violence under the residual clause even though there is no
     overt act requirement); United States v. Phan, 121 F.3d 149, 152-
17   53 (4th Cir. 1997) (finding that “Hobbs Act conspiracy to commit
     robbery, however, is a separate crime of violence providing its
18   own predicate for § 924(c)(1) liability” and citing Elder as
     “holding that Hobbs Act conspiracy to commit armed robbery is by
19   definition a felony involving substantial risk that physical
     force may be used and therefore is a proper predicate for a
20   § 924(c)(1) conviction”); United States v. Taylor, 176 F.3d 331,
     337-38 (6th Cir. 1999) (“[A] conspiracy to commit a robbery that
21   violates the Hobbs Act is necessarily a conspiracy that, by its
     nature, involves a substantial risk that physical force may be
22   used against the person or property of another, and therefore is
     a crime of violence within the meaning of section 924(c).”). But
23   see United States v. Redmond, Cr. No. 3:14-00226 MOC, 2015 WL
     5999317, *4 (W.D.N.C. Oct. 13, 2015) (looking to the indictment,
24   which charged the defendant with conspiring to obstruct, delay,
     and affect commerce by robbery, by taking, or by conspiring to
25   take personal property from victims “against their will and by
     means of actual and threatened force, violence, and fear of
26   immediate and future injury,” and concluding that the underlying
     conviction included “as an essential element ‘physical violence’
27   or ‘a threat of physical violence’” and was therefore a crime of
     violence under the force clause).
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1    violence under the residual clause.      However, because the court,

2    for all the reasons explained in its previous Order (See Feb. 1,

3    2016 Order at 10-13), concludes that the residual clause is

4    unconstitutional under Johnson, the court must grant defendant’s

5    motion to dismiss.

6              IT IS THEREFORE ORDERED that defendant’s motion to

7    dismiss counts two, three, five, seven, and nine of the

8    Indictment (Docket No. 1686) be, and the same hereby is, GRANTED.

9    Dated:   April 20, 2016

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